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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

  IN RE:                                             §       CASE NO. 22-60043
                                                     §
  FREE SPEECH SYSTEMS, LLC,                          §       CHAPTER 11 (Subchapter V)
                                                     §
            DEBTOR.                                  §

  UNITED STATES TRUSTEE’S RESPONSE IN SUPPORT OF JOINT MOTION OF
       THE CONNECTICUT PLAINTIFFS AND THE TEXAS PLAINTIFFS
          TO REVOKE THE DEBTOR’S SUBCHAPTER V ELECTION

TO THE HONORABLE CHRISTOPHER M. LOPEZ
UNITED STATES BANKRUPTCY JUDGE:

       Kevin M. Epstein, the United States Trustee for the Southern District of Texas (the “U.S.

Trustee”), hereby submits his response (the “Response”) to the Joint Motion of the Connecticut

Plaintiffs and the Texas Plaintiffs to Revoke the Debtor’s Subchapter V Election (the “Motion”).

See DC. No. 468. In support of the Motion, the U.S. Trustee states the following:

       1.      The Connecticut Plaintiffs and the Texas Plaintiffs (collectively referred to as the

“Sandy Hook Plaintiffs”) raised an issue of first impression in the Motion concerning the eligibility

of Free Speech Systems, LLC (“FSS”) to proceed under subchapter V of the Bankruptcy Code.

The U.S. Trustee files this Response to address the issue of whether, under Section 1182(1)(B)(i)

of the Bankruptcy Code, the subsequent bankruptcy filing of an affiliate with more than $7.5

million in noncontingent liquidated debts disqualifies a debtor from continuing under subchapter

V. The U.S. Trustee is not aware of case law addressing this issue but based on the principles of

statutory construction and the plain language of Section 1182 answers in the affirmative.

       2.      Section 1182 of the Bankruptcy Code provides as follows:

                   In this subchapter:
                   (1) DEBTOR.—The term “debtor”—


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                   (A) subject to subparagraph (B), means a person engaged in commercial or
                   business activities (including any affiliate of such person that is also
                   a debtor under this title and excluding a person whose primary activity is the
                   business of owning single asset real estate) that has aggregate noncontingent
                   liquidated secured and unsecured debts as of the date of the filing of the
                   petition or the date of the order for relief in an amount not more than
                   $7,500,000 (excluding debts owed to 1 or more affiliates or insiders) not less
                   than 50 percent of which arose from the commercial or business activities of
                   the debtor; and

                   (B) does not include—
                   (i) any member of a group of affiliated debtors under this title that has
                   aggregate noncontingent liquidated secured and unsecured debts in an amount
                   greater than $7,500,000 (excluding debt owed to 1 or more affiliates or
                   insiders);
                   (ii) any debtor that is a corporation subject to the reporting requirements under
                   section 13 or 15(d) of the Securities Exchange Act of 1934 (15 U.S.C. 78m,
                   78o(d)); or
                   (iii) any debtor that is an affiliate of a corporation described in clause (ii).

11 U.S.C. § 1182 (emphasis added).

       3.      The Supreme Court in United States v. Ron Pair Enterprises, Inc., 489 U.S. 235,

240-41 (1989), has held that “as long as the statutory scheme is coherent and consistent, there

generally is no need for a court to inquire beyond the plain language of the statute.” “[W]here . . .

the statute’s language is plain, ‘the sole function of the courts is to enforce it according to its

terms.’” Id. at 241 (quoting Casinett v. United States, 242 U.S. 470, 485 (1917)).

       4.      The plain language of Section 1182 is coherent and consistent that the term “debtor”

under subchapter V excludes “any member of a group of affiliated debtors under this title that has

aggregated noncontingent liquidated secured and unsecured debts in an amount greater than

$7,500,000 (excluding debt owed to 1 or more affiliates or insiders).” 11 U.S.C. § 1182(1)(B)(i).

Congress did not include the temporal restriction, “as of the date of the filing of the petition,”

contained in Section 1182(1)(A) concerning the debtor’s debts when it drafted Section

1182(1)(B)(i) concerning a group of affiliated debtors’ debts. “Where Congress includes particular


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language in one section of a statute but omits it in another section of the same Act, it is generally

presumed that Congress acts intentionally and purposefully in the disparate inclusion or

exclusion.” Russello v. United States, 464 U.S. 16, 23 (1983) (quotation and citation omitted).

         5.       Alex Jones (“Mr. Jones”) filed an individual chapter 11 petition on December 2,

2022, with approximately $1.4 billion of noncontingent liquidated debts. Under Section 101(2)(A)

of the Bankruptcy Code, Mr. Jones, as the owner of the 100% membership interest in FSS, is an

affiliate debtor of FSS. Section 1182(1)(A) precludes Mr. Jones from electing to file under

subchapter V, because he had liabilities exceeding $7,500,000 as of the date of the filing of his

petition. Based on its plain language, Section 1182(1)(B)(i) further precludes FSS from proceeding

under subchapter V because Mr. Jones is an affiliate debtor whose debts aggregate with FSS’s

debts to an amount exceeding $7,500,000. 1 As such, FSS cannot meet the definition of “debtor”

in Section 1182 and therefore is not eligible for relief under subchapter V of Chapter 11.

         6.       Lastly, the Sandy Hook Plaintiffs also request that, if the Court grants the Motion

and FSS’s case is converted to chapter 11, the subchapter V trustee be appointed as an examiner

with substantially the same responsibilities as her current mandate. See Mot. ¶ 45. This request is

premature. While the U.S. Trustee recognizes the significant work of the subchapter V trustee in

this case, should the Court revoke the election, the Sandy Hook Plaintiffs may file a separate

motion demonstrating the requisite cause under Section 1104 for the appointment of an examiner.

Should the Court direct the appointment of an examiner after revoking FSS’ subchapter V election,

the U.S. Trustee will, pursuant to Section 1104(d), consult with all parties in interest in selecting




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  Although it did not concern a later filing affiliate, the bankruptcy court in In re 305 Petroleum, Inc., 622 B.R. 209
(Bankr. N.D. Miss. 2020) did interpret Section 1182(1)(B)(i) to include the debt of a single asset real estate debtor
that was not eligible to file under subchapter V with the debts of three other affiliated debtors for the purposes of their
eligibility to be small business debtors.

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the appropriate examiner for that case. The U.S. Trustee conferred with the Sandy Hook Plaintiffs

who have agreed this would be the appropriate process for seeking an examiner.

       WHEREFORE, the U.S. Trustee supports the Sandy Hook Plaintiffs’ request to revoke

the subchapter V designation for FSS. The U.S. Trustee further respectfully requests that the Court

deny without prejudice the Sandy Hook Plaintiffs’ request for appointment of an examiner unless

and until the case is converted to chapter 11 and a motion under Section 1104 of the Code is

granted by the Court.



                                                     RESPECTFULLY SUBMITTED:
                                                     KEVIN M. EPSTEIN
                                                     UNITED STATES TRUSTEE


DATED: 3/8/23                                        /s/ Ha M. Nguyen
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                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was served by electronic means
via ECF transmission to all Pacer System participants in this bankruptcy case, on the 8th day of
March, 2023.

                                                            /s/ Ha M. Nguyen
                                                            Ha M. Nguyen




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